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                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION


  STATE OF MISSOURI, et al.,
                    Intervenor-Plaintiffs,

          v.

  U.S. FOOD AND DRUG ADMINISTRATION, et al.,                      Case No. 2:22-cv-00223-Z
                    Defendants,
          and
  DANCO LABORATORIES, LLC,
                    Intervenor-Defendant.


                GENBIOPRO, INC.’S MOTION FOR LEAVE TO INTERVENE

        Pursuant to Fed. R. Civ. P. 24(a) and (b), GenBioPro, Inc. (“GenBioPro”) moves for leave

 to intervene as a Defendant for the reasons set forth in the accompanying Memorandum of Points

 and Authorities.

        GenBioPro joins in the Rule 12(b) objections by both the Federal Defendants and

 Intervenor-Defendant Danco, which foreclose reaching any merits issues in this case. By seeking

 to intervene, GenBioPro expressly does not in any way waive such objections or acquiesce in

 venue in this District. Rather, GenBioPro seeks intervention to ensure that its rights are fully and

 adequately represented in the event this case proceeds any further in this Court. GenBioPro is

 seeking to intervene now, at the pleading stage, to ensure the timing of its motion causes no

 prejudice to the existing parties.

        Pursuant to Fed. R. Civ. P. 24(c), attached hereto is a proposed motion to dismiss and

 joinder to the two pending motions to dismiss the Intervenor-Plaintiffs’ Amended Complaint. A



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 proposed order granting this Motion for Leave to Intervene is also attached and respectfully

 submitted for this Court’s consideration.


  Dated: February 25, 2025                        Respectfully submitted,

                                                  ARNOLD & PORTER KAYE SCHOLER LLP

                                                  /s/ Christopher M. Odell
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                                                  Counsel for GenBioPro, Inc.




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                                CERTIFICATE OF CONFERENCE

         I certify that on February 24, 2025, counsel for GenBioPro conferred with counsel for the

 Federal Defendants regarding this Motion. The Federal Defendants consented to GenBioPro’s

 intervention. I further certify that counsel for GenBioPro conferred with Intervenor-Defendant

 Danco Laboratory LLC’s counsel on February 24, 2025. Danco does not oppose GenBioPro’s

 intervention. I also certify that counsel for GenBioPro conferred with the Intervenor-Plaintiffs’

 counsel on February 19, 2025. Intervenor-Plaintiffs oppose GenBioPro’s intervention.


                                                           /s/ Christopher M. Odell
                                                           Christopher M. Odell


                                   CERTIFICATE OF SERVICE

         I certify that on February 25, 2025, I electronically filed the foregoing Motion for Leave to

 Intervene using the CM/ECF system. Notice of this filing will be sent by operation of the Court’s

 electronic filing system to all parties of record.


                                                           /s/ Christopher M. Odell
                                                           Christopher M. Odell




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